
28 N.Y.2d 524 (1971)
The People of the State of New York, Respondent,
v.
Seymour Lynch, Appellant.
Court of Appeals of the State of New York.
Argued December 7, 1970.
Decided January 7, 1971.
Ronald E. Johnson for appellant.
Albert M. Rosenblatt, District Attorney, for respondent.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, BREITEL, JASEN and GIBSON.
Upon the appeal from the order and judgment (one paper): Judgment modified by remitting the case to the County Court of Dutchess County for resentencing upon compliance with paragraph (b) of subdivision 3 of section 70.00 of the Penal Law, and, as so modified, affirmed. Appeal from the order affirming the denial of defendant's coram nobis application dismissed as moot.
